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                            UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                                    CRIMINAL MINUTE SHEET
USA v.       Ty Garbin                                                                 Mag. Judge: Sally J. Berens

    CASE NUMBER                      DATE                 TIME (begin/end)            PLACE                     INTERPRETER


 1:20-mj-00416-SJB                  10/8/2020            2:01 p.m. - 2:05 p.m.      Grand Rapids


APPEARANCES:
Government:                                              Defendant:                                      Counsel Designation:
Nils R. Kessler, Austin Hakes                            Appeared w/out counsel (court to appoint)


          OFFENSE LEVEL                                 CHARGING DOCUMENT/COUNTS                           CHARGING DOCUMENT
                                                                                                         Read
Felony                                      Complaint                                                    Reading Waived

             TYPE OF HEARING                                     DOCUMENTS                                CHANGE OF PLEA

✔   First Appearance                                Defendant's Rights                        Guilty Plea to Count(s)
    Arraignment:                                    Waiver of                                 of the
         mute              nolo contendre           Consent to Mag. Judge for
                           guilty                                                             Count(s) to be dismissed at sentencing:
         not guilty
                                                    Other:
    Initial Pretrial Conference
                                                                                              Presentence Report:
    Detention         (waived   )                                                                    Ordered      Waived
    Preliminary    (waived      )                Court to Issue:                                     Plea Accepted by the Court
    Rule 5 Proceeding                               Report & Recommendation
                                                                                                     No Written Plea Agreement
    Revocation/SRV/PV                               Order of Detention
                                                    Order to file IPTC Statements
    Bond Violation                                                                                    EXPEDITED RESOLUTION
                                                    Bindover Order
    Change of Plea                               ✔ Order Appointing Counsel
                                                                                                     Case appears appropriate for
    Sentencing                                      Other:                                           expedited resolution
    Other:

                       ADDITIONAL INFORMATION                                                    SENTENCING
                                                                           Imprisonment:
                                                                           Probation:
                                                                           Supervised Release:
                                                                           Fine: $
                                                                           Restitution: $
                                                                           Special Assessment: $
                                                                           Plea Agreement Accepted:             Yes    No
                                                                           Defendant informed of right to appeal:         Yes       No
                                                                           Counsel informed of obligation to file appeal:  Yes      No


                  CUSTODY/RELEASE STATUS                                               BOND AMOUNT AND TYPE

Remanded to USM                                                        $

CASE TO BE:           Set for Hearing before Mag. Judge               TYPE OF HEARING: Preliminary/Detention Hearings

Reporter/Recorder:          Digitally Recorded                        Courtroom Deputy:              J. Lenon
